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                                                    UNITED STATES DISTRICT COURT
            12
                                                   NORTHERN DISTRICT OF CALIFORNIA
            13
                                                       SAN FRANCISCO DIVISION
            14
                     ETHAN ZUCKERMAN,                               Case No. 3:24-CV-02596-JSC
            15
                                      Plaintiff,                    REPLY MEMORANDUM OF
            16                                                      DEFENDANT META PLATFORMS,
                            v.                                      INC. IN SUPPORT OF MOTION TO
            17                                                      DISMISS AMENDED COMPLAINT
                     META PLATFORMS, INC.,
            18                                                      Hearing:
                                      Defendant.                    Date:        November 7, 2024
            19                                                      Time:        10:00 a.m.
                                                                    Courtroom:   8, 19th Floor
            20                                                      Judge:       Hon. Jacqueline Scott Corley
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                 1                                          I.      INTRODUCTION
                 2          Plaintiff’s opposition confirms that this Court should not exercise discretionary jurisdiction
                 3   over this theoretical dispute about a proposed browser extension, “Unfollow Everything 2.0,” that does
                 4   not yet exist. Aside from conjecture about how Plaintiff intends his proposed extension to work, there
                 5   are no facts that would enable this Court to adjudicate his declaratory relief requests, a process that
                 6   would require technical details about how the hypothetical tool—if invented—would interact with
                 7   users, computers, and data, as well as Facebook’s own servers and systems.
                 8          Among the many reasons why the Court should decline Plaintiff’s invitation, the most important
                 9   is that his grievances are not ripe. Until Plaintiff initiated this lawsuit, Meta had never taken any action
            10       toward him; there is no guarantee that his proposed browser extension (if and when released) would
            11       actually operate as he suggests; and, until the extension actually exists, Meta cannot determine how it
            12       might respond and the Court lacks sufficient information to resolve Plaintiff’s claims for declaratory
            13       relief. The patent and trademark cases Plaintiff cites are inapposite because they involve a different
            14       legal standard, and his allusion to the “core functionality” of his proposed extension does not supply
            15       the requisite technical facts to enable meaningful review.
            16              Prudential considerations also weigh against exercising discretionary jurisdiction. As shown
            17       by Plaintiff’s media tour, he filed this lawsuit to “shape policy” about “user empowerment” on the
            18       Internet. But it is not this Court’s role to make Internet policy—and it is a doubly bad idea for the
            19       Court to do so through a case that it is not required to hear. Adjudicating these claims would also
            20       require unnecessary rulings on hypothetical applications of California law—rulings that would be moot
            21       if, as is likely, the tool Plaintiff proposes inventing were to end up working differently than alleged or
            22       Meta’s response to any such tool were different claims than Plaintiff predicts.
            23              Even if the Court were inclined to address the merits of Plaintiff’s allegations, they would fail
            24       to state a claim. To the extent Plaintiff’s allegations are discernable, his proposed tool apparently
            25       would use automated means to enter into a Facebook user’s account to access and collect data from
            26       Facebook—conduct that would both compromise Meta’s ability to protect user security and directly
            27       violate its Terms of Service. Another court in this District, in Meta Platforms, Inc. v. BrandTotal Ltd.,
            28       605 F. Supp. 3d 1218 (N.D. Cal. 2022), recognized that Meta’s Terms are valid and enforceable and
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                 1   serve legitimate purposes. Contrary to Plaintiff’s and amici’s policy arguments, Meta’s Terms do not
                 2   specifically bar the development of any tool that might help users control their experiences on the
                 3   Internet, and Plaintiff is free to develop whatever tools he wishes to invent. But he may not seek license
                 4   to do so in a way that violates the Terms or applicable law.
                 5           Plaintiff’s request for a declaration that he would be immunized by section 230(c)(2)(B) of the
                 6   Communications Decency Act also should be denied. Section 230(c)(2)(B) does not apply because the
                 7   action at issue—using automated means to access and collect data from Facebook—is not one that
                 8   “restrict[s] access to material.” 47 U.S.C. § 230(c)(2)(B). Plaintiff’s opposition also does not show
                 9   that he is a provider or user of an “interactive computer service,” or that his proposed browser extension
            10       would “restrict access” to content in any event.
            11               Finally, Plaintiff supplies no good reason for the Court to decide whether his proposed tool
            12       would violate the CFAA or CDAFA. It is unclear whether Meta would assert such claims (even
            13       assuming it would respond to the release of his tool with a legal action), and the opposition provides
            14       no factual clarity to discern the putative CFAA or CDAFA claim for which he seeks declaratory relief.
            15               In short, there is no justiciable dispute, and Plaintiff has not stated any claim for relief. The
            16       Court should dismiss this lawsuit.
            17                                                 II.      ARGUMENT
            18       A.      This Action Should Be Dismissed For Lack Of Jurisdiction
            19               Plaintiff’s opposition confirms that (1) there is no ripe “case of actual controversy” within this
            20       Court’s jurisdiction, and (2) it would be inappropriate, as a prudential matter, for the Court to exercise
            21       its discretionary jurisdiction. Am. States Ins. Co. v. Kearns, 15 F.3d 142, 143 (9th Cir. 1994).
            22               1.     Plaintiff’s Hypothetical Dispute Is Not Ripe For Review
            23               Plaintiff’s abstract “fears that Meta will take legal action against him if he releases” his yet-to-
            24       be-developed browser extension do not make this case ripe for review. Dkt. 33 (“Opp.”) 3. Ripeness
            25       requires “a substantial controversy, between parties having adverse legal interests, of sufficient
            26       immediacy and reality to warrant the issuance of a declaratory judgment.” Montana Env. Info. Ctr. v.
            27       Stone-Manning, 766 F.3d 1184, 1888 (9th Cir. 2014). There is no substantial, immediate, or real
            28       controversy, not least because “Unfollow Everything 2.0” is hypothetical. Plaintiff’s claims depend
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                 1   upon his actually developing and releasing the tool he plans to invent and the tool working exactly as
                 2   he predicts. Opp. 8; Dkt. 30 (“Mem.”) 5. Even then, Meta would need to analyze how the proposed
                 3   tool actually works to determine an appropriate response.
                 4          Plaintiff’s efforts to sidestep those fundamental flaws fail. Plaintiff first insists that he has
                 5   identified the “core functionality” of his proposed invention—allowing the “automation of unfollowing
                 6   and re-following”—and that all he is missing is the “actual computer code.” Opp. 8. But adjudicating
                 7   whether Plaintiff’s proposed tool would violate Meta’s Terms of Service, the CFAA, or CDAFA
                 8   depends on the details of how it would accomplish its “core functionality.” Both Meta’s Terms and
                 9   the computer fraud statutes focus on specific, technical conduct relating to the interaction between data,
            10       computers, and servers. And even if Plaintiff could allege sufficient details about a nonexistent tool he
            11       plans to invent to allow an initial hypothetical adjudication, readjudication would be required if the
            12       tool were to operate differently than suggested. Regardless of whether the tool could be completed in
            13       six weeks or in three years, it does not yet exist, and Plaintiff concedes that any changes to Facebook’s
            14       services in the interim would “require corresponding changes to the tool.” Opp. 8–9.
            15              Plaintiff next tries to dilute the ripeness standard by citing patent and trademark cases to suggest
            16       that his “immediate intention to code the tool,” combined with his “significant, concrete steps” toward
            17       completing it, make this case ripe. Opp. 6–7. But the standard for intellectual property cases—where
            18       “declaratory action … is almost always justiciable”—does “not support” similar relief in non-
            19       intellectual property disputes. Bank of Am., N.A. v. Cnty. of Maui, 2020 WL 7700098, at *4 (D. Haw.
            20       Dec. 28, 2020). Unlike other cases, intellectual property disputes involve suppression of competition
            21       through statutory monopolies that have the potential to inflict immediate harm to an alleged infringer’s
            22       business, such that lowering the declaratory relief threshold for these cases serves the “policies
            23       underlying the patent laws” of promoting fair competition and judicial efficiency.             Societe de
            24       Conditionnement en Aluminium v. Hunter Eng’g, Co., 655 F.2d 938, 943 (9th Cir. 1981); see also 10B
            25       Wright & Miller, Fed. Prac. & Proc. Civ. § 2761 (4th ed. 2024) (explaining unique role of declaratory
            26       judgment in patent and trademark context). And, uniquely to intellectual property infringement cases,
            27       the “adverse legal positions of the parties are more crystallized” because courts can fully adjudicate the
            28       validity of a patent or mark without relying “on a set of hypothetical facts.” Societe, 655 F.2d at 944.
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                 1          None of those considerations applies here, where Plaintiff’s claims do not involve a statutory
                 2   monopoly and would require the Court to rely on an empty record comprising only allegations about
                 3   hypothetical facts regarding an invention that does not yet exist.1
                 4          Nor does Meta’s alternative argument under Rule 12(b)(6) that Plaintiff’s proposed browser
                 5   extension (if developed) would “violate[] [its] Terms” (Opp. 4) somehow make this case ripe. A
                 6   defendant does not concede jurisdiction by alternatively seeking dismissal under Rule 12(b)(6). See
                 7   5C Wright & Miller, Fed. Prac. & Proc. Civ. § 1397 (3d ed. 2024 update) (recognizing “practice of
                 8   allowing a defendant in effect to plead alternatively … one or more threshold defenses” without
                 9   waiving jurisdictional objections). Were the rule otherwise, a defendant in a declaratory judgment case
            10       could never raise alternative arguments about the merits of the claims without waiving jurisdiction—
            11       contrary to the “important and constructive principle of our adversary system that parties may argue
            12       alternative positions without waiver.” Hillis v. Heineman, 626 F.3d 1014, 1018–19 (9th Cir. 2010).
            13              That Meta’s motion does not “‘disclaim’ an intent to pursue legal action” against Plaintiff does
            14       not change the analysis. Opp. 6. This action is unripe because there are insufficient facts for Meta
            15       (and the Court) to evaluate Plaintiff’s hypothetical browser extension, so it is unsurprising that Meta
            16       has not yet advanced a litigation position.2 The defendant in Chesebrough-Pond’s, Inc. v. Faberge,
            17       Inc., 666 F.2d 393 (9th Cir. 1982), by contrast, “responded to [the declaratory judgment action] with a
            18       counterclaim seeking damages for infringement.” Id. at 396–97.3
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                       Plaintiff’s intellectual property cases are distinguishable in any event because, unlike in those cases,
            20       Plaintiff has not yet invented his proposed tool and is not ready to release it imminently. See, e.g.,
                     LifeScan Scotland, Ltd. v. Shasta Techs., LLC, 2012 WL 2979028, at *1, *6 (N.D. Cal. July 19, 2012)
            21       (allegedly infringing products were produced and “stockpile[d]” for distribution); Rengo Co. Ltd. v.
                     Molins Mach. Co., 657 F.2d 535, 539 (3d Cir. 1981) (defendant took orders to sell a “possibly
            22       infringing device,” which it had the ability to produce); see also Paramount Pictures Corp. v. Axanar
                     Prods., Inc., 2016 WL 2967959, at *6 (C.D. Cal. May 9, 2016) (defendant had “fully revised and
            23       locked” script and completed filming scene from allegedly infringing film).
                     2
            24         Plaintiff’s other cited cases are inapplicable, as they involved situations where the declaratory relief
                     defendant had already threatened to “take every legal action available to them against” the plaintiff
            25       specifically, Societe, 655 F.2d at 941, 945, or had filed a cancellation action against the plaintiff, FN
                     Cellars, LLC v. Union Wine Co., 2015 WL 5138173, at *3 (N.D. Cal. Sept. 1, 2015).
            26       3
                       National Basketball Ass’n v. SDC Basketball Club, Inc., 815 F.2d 562, 566 (9th Cir. 1987), is
                     inapposite for the same reason. There, the NBA sought declaratory judgment that its actions would not
            27       violate antitrust laws, and defendants counterclaimed for declaratory judgment that the NBA’s actions
                     “would violate the antitrust laws.” Id. at 565. Because defendants filed a counterclaim on the same
            28       issue, defendants were “in direct conflict with the NBA” from “the onset of the suit.” Id. at 566.
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                 1          The cease-and-desist letter Meta sent to the creator of “Unfollow Everything 1.0” also does not
                 2   establish a ripe controversy. Although Plaintiff says Unfollow Everything 1.0 was “the inspiration for”
                 3   his proposed browser extension and that he believes his tool would be “functionally identical,” Opp. 4,
                 4   neither the Amended Complaint nor the opposition explains how Unfollow Everything 1.0 interacted
                 5   with users, data, and computer servers, or whether its technical operations would match those of
                 6   Plaintiff’s contemplated tool—a critical omission, as there may be many ways to achieve the same
                 7   ultimate functionality of “mass following and unfollowing.” Id.
                 8          In any event, that cease-and-desist letter did not threaten litigation, and Meta’s reservation of
                 9   its rights, standing alone, cannot establish an imminent threat to litigate. See Eddy v. Citizenhawk, Inc.,
            10       2013 WL 12114488, at *3 (S.D. Cal. Nov. 19, 2013). Unlike in Plaintiff’s cases, Meta has taken no
            11       action against Plaintiff (apart from responding to his lawsuit). Nor is there privity between Plaintiff
            12       and Unfollow Everything 1.0’s creator such that the letter was effectively a threat against Plaintiff. See
            13       Societe, 655 F.2d at 944–45 (defendant’s employee made phone call to client of the plaintiff threatening
            14       infringement suit if client purchased plaintiff’s equipment); E.&J. Gallo Winery v. Proximo Spirits,
            15       Inc., 583 F. App’x 632, 633–34 (9th Cir. 2014) (defendant’s distributor sent plaintiff’s distributor
            16       cease-and-desist letter threatening legal action for trade dress infringement).
            17              Plaintiff’s reliance on 3taps, Inc. v. LinkedIn Corp., 2022 WL 16953623 (N.D. Cal. Nov. 15,
            18       2022), only underscores why this case is not ripe. See Opp. 5–6. There, LinkedIn was already engaged
            19       in adversarial litigation regarding identical conduct (i.e., web scraping) and directly told 3taps that its
            20       scraping software was impermissible. Here, by contrast, there is no pending litigation involving an
            21       identical issue and no prior contacts between Meta and Plaintiff.
            22              Finally, Plaintiff’s argument about Meta’s purported “pattern” of enforcing its Terms against
            23       third-party developers, Opp. 5, proves nothing. Those examples say nothing about how Meta may
            24       ultimately respond to Plaintiff’s proposed browser extension. The applications Plaintiff cites had
            25       already been developed and released, presenting actual facts about how they interacted with Meta’s
            26       services. See id. (citing Am. Compl. ¶¶ 90–91); Facebook, Inc. v. Power Ventures, Inc., 844 F.3d 1058,
            27       1062 (9th Cir. 2016) (defendant had “accessed Facebook users’ data and initiated form e-mails”);
            28       BrandTotal, 605 F. Supp. 3d at 1232 (existing browser extension “log[ged] information that Facebook
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                 1   transmits to the user”); Meta Platforms, Inc. v. Bright Data Ltd., 2024 WL 251406, at *3 (N.D. Cal.
                 2   Jan. 23, 2024) (defendant “developed and used unauthorized automation software to scrape data from
                 3   Facebook and Instagram”); Meta Platforms, Inc. v. Voyager Labs Ltd., 2024 WL 2412419, at *1 (N.D.
                 4   Cal. May 23, 2024) (defendant operated “surveillance software that uses tens of thousands of fake
                 5   accounts to scrape data from Facebook and Instagram”). These cherry-picked examples do not
                 6   establish that legal action against Plaintiff is inevitable: Many third-party tools interact with Meta’s
                 7   services, and litigation against a few does not suggest litigation is certain against all.4
                 8           2.      Plaintiff’s Claims Do Not Warrant Discretionary Review
                 9           Even if Plaintiff could establish that this case were ripe, that would not mean the Court must
            10       take it up—and there are good reasons not to. Gov’t Emps. Ins. Co. v. Dizol, 133 F.3d 1220, 1225 n.5
            11       (9th Cir. 1998) (citing Brillhart v. Excess Ins. Co., 316 U.S. 491, 495 (1942)). The discretionary factors
            12       weigh in favor of dismissal, see Mem. 11–14, and Plaintiff offers no convincing arguments.
            13               First, Plaintiff is incorrect that this case will not involve needless determination of state law.
            14       Although Plaintiff says “[t]he primary claim at issue is a federal one” (Opp. 12), his section 230 “claim”
            15       is not a claim at all: it is an immunity from suit, and asserting it is not ordinarily enough to create
            16       federal jurisdiction. See Negrete v. City of Oakland, 46 F.4th 811, 819 (9th Cir. 2022) (“A defense that
            17       raises a federal question is inadequate to confer federal jurisdiction.”). Although Plaintiff seeks a ruling
            18       on one federal claim under the CFAA, it is not certain that Meta would assert that claim (or any of his
            19       state-law claims) even if Meta were to pursue a later action—making adjudication of state law claims
            20       by this Court “superfluous” at this stage. Bank of Am., 2020 WL 7700098, at *6.
            21               Second, Plaintiff does not address the possibility that resolution of this action presents a risk of
            22       duplicative litigation if the proposed browser extension does not work as intended or requires changes
            23       “corresponding” to any changes to Facebook’s services. See Mem. 12. As Plaintiff acknowledges,
            24
                     4
                       Plaintiff also argues the prudential ripeness factors under Article III—fitness for judicial resolution
            25       and harm to the plaintiff—do not apply in actions between private parties. See Opp. 3 n.2. But
                     whatever role these prudential factors may play in the constitutional ripeness analysis, Plaintiff cannot
            26       dispute that the Court’s exercise of declaratory jurisdiction is always discretionary. And the key
                     prudential factors—including the need to develop a technical record to allow efficient analysis of the
            27       claims; the minimal hardship to Plaintiff (which he characterizes as “potential loss of his Facebook
                     account,” and an unspecified “cost of coding the tool,” Opp. 10); and the unfairness to Meta of
            28       defending an action based on nothing more than Plaintiff’s claimed intentions—all counsel against
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                     exercising discretionary jurisdiction here. See Mem. 9–11.
 Crutcher LLP                                                          6
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                 1   Facebook’s services have “changed over time and will likely continue to change.” Am. Compl. ¶ 53.
                 2           Third, on forum shopping, Plaintiff does not dispute that his goal is to gain a procedural
                 3   advantage by having free rein to dictate the allegations (which rest on his claimed intentions, not
                 4   concrete facts, about his proposed browser extension) and to select the specific claims he wants to
                 5   litigate to further his own policy agenda (which may not even reflect the legal claims or theories, if
                 6   any, that Meta might bring if Plaintiff ever invents and releases his proposed tool). See Mem. 13. To
                 7   the extent Plaintiff suggests that his suit has been “triggered” by the cease-and-desist letters sent to a
                 8   different creator of a separate tool, Unfollow Everything 1.0, “equity militates” in favor of permitting
                 9   Meta to choose a forum. See Xoxide, Inc. v. Ford Motor Co., 448 F. Supp. 2d 1188, 1193 (C.D. Cal.
            10       2006) (declining to exercise jurisdiction over anticipatory declaratory judgment action in response to
            11       cease-and-desist letters as improper forum shopping).
            12               Fourth, deciding this action before Plaintiff has actually followed through on his plan to invent
            13       a browser extension will not “usefully clarify the parties’ legal relations.” Opp. 3. Even if Meta might
            14       deem legal action appropriate after actually seeing the tool that Plaintiff may ultimately release, Meta
            15       may bring different claims from those posited by Plaintiff. See Mem. 13. Plaintiff’s suggestion that
            16       no trademark claim could be asserted because “[n]o such use has been pleaded,” Opp. 11 n.7, only
            17       highlights the problem with Plaintiff’s selective pleading of allegations and claims, which
            18       fundamentally limits the utility of any declaratory ruling on the claims he has brought.
            19               Finally, the fairness factor cuts against jurisdiction. See Mem. 14. Plaintiff argues that Meta’s
            20       damages are irrelevant to his claims, Opp. 12, but damages are an element of the CFAA, Delacruz v.
            21       State Bar of Cal., 2017 WL 7310715, at *7 (N.D. Cal. June 21, 2017), and the degree of harm will
            22       affect Meta’s evaluation of the tool and its response. And although Plaintiff insists “the tool does not
            23       harm Facebook,” Opp. 12, that would be incorrect even if the proposed browser extension works
            24       exactly as Plaintiff intends: Meta has obligations to protect the integrity of its services and to ensure
            25       consistent enforcement of Terms that protect user privacy.
            26       B.      The Amended Complaint Does Not State A Claim
            27               The Court need not consider the merits of Plaintiff’s claims because there is no basis to exercise
            28       jurisdiction. If the Court does so, it should dismiss because Plaintiff’s allegations are insufficient to
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 Crutcher LLP                                                          7
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                 1   allege a breach of contract or violation of the CFAA or CDAFA.
                 2          1.      Plaintiff’s Tool, As Alleged, Would Breach Meta’s Terms Of Service
                 3          Plaintiff’s proposed tool would violate at least two provisions of Meta’s Terms: restrictions on
                 4   “access[ing] or collect[ing] data from [Facebook] using automated means” and “enag[ing],”
                 5   “facilitat[ing],” or “support[ing] others in doing so.” Dkt. 31-2 §§ 3.2, 3.2.3; see Mem. 14–17. Plaintiff
                 6   does not dispute that his proposed tool would “access or collect data … using automated means.”
                 7   Rather, his primary argument appears to be that only “users” of his proposed tool—and not Plaintiff
                 8   himself—would be subject to the Terms. See Opp. 18–19. This argument ignores Section 3.2, which
                 9   explicitly bars any user from “facilitat[ing] or support[ing] others” in violating the Terms. Dkt. 31-2
            10       § 3.2. That provision defeats Plaintiff’s arguments that he is not personally using, access, or collecting
            11       data from Facebook (see Opp. 20), because he, as a user of Facebook (see Am. Compl. ¶ 45), also
            12       agreed not to help others violate the Terms.5 It is also no answer that Plaintiff’s proposed browser
            13       extension would “use” Facebook as a user’s “agent.” See Opp. 20. Under California law, “agents are
            14       responsible for their own independent torts and breaches of contract in connection with acts in the
            15       course of their agency.” Kurtin v. Elieff, 215 Cal. App. 4th 455, 480 (2013). Plaintiff’s unsupported
            16       agency status gives him no license to breach Facebook’s Terms, to which he is personally bound as a
            17       Facebook user (see Am. Compl. ¶ 45).
            18              Plaintiff is also wrong that general policy statements and press releases about the rights of
            19       Facebook users to download their data somehow authorize him to access that data by means that violate
            20       the Terms. See Opp. 21. No Facebook “user could reasonably rely on broad statements regarding
            21       ownership of data as allowing the use of automated means to collect that data.” Facebook, Inc. v.
            22       BrandTotal Ltd., 2021 WL 662168, at *11 (N.D. Cal. Feb. 19, 2021). Meta’s Terms prohibit “access
            23       or collect[ion of] data from [Facebook] using automated means,” and there is no exception for data that
            24       a user may otherwise access or download through channels authorized by Meta. Dkt. 30-2 § 3.2.3.
            25       5
                       Plaintiff also cites Meta Platforms, Inc. v. Bright Data Ltd., 2024 WL 251406 (N.D. Cal. Jan. 23,
                     2024), to suggest that he can only be bound by the Terms for “actions taken while availing oneself of
            26       the platform.” Opp. 19. But Bright Data involved “logged-off” scraping (where no one was using
                     Facebook), whereas Plaintiff is facilitating a use of Facebook that violates the Terms. And unlike the
            27       “logged-off” scraping in Bright Data, Plaintiff’s hypothetical invention is engaged in “activities tied to
                     or derivative of logged-in access,” 2024 WL 251406, at *14 (emphasis added), a far more pernicious
            28       practice given the potential harm to user privacy and security.
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 Crutcher LLP                                                          8
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                 1   Plaintiff also overreads Power Ventures by suggesting the Ninth Circuit “concluded” that a social
                 2   media aggregator had “implied permission to automatically collect user data from Meta’s servers.”
                 3   Opp. 21. The court merely noted that the aggregator “reasonably could have thought” that it had “at
                 4   least arguable permission to access Facebook’s computers” based on user consent, but the court did not
                 5   address the restrictions in Meta’s Terms about how that data may be accessed from Meta’s servers even
                 6   if users consented to such access. Power Ventures, 844 F.3d at 1067.
                 7          Finally, Plaintiff posits that Facebook’s Terms might one day change in a way that allows users
                 8   to download their data using automated means. Opp. 21. But this argument only highlights why this
                 9   dispute is not ripe. If Plaintiff thinks Meta might at some point in the future change its Terms to allow
            10       his hypothetical invention, there is no need for the Court to grant a declaratory ruling now.
            11              2.      Public Policy Does Not Prohibit Enforcement Of Meta’s Terms Against Plaintiff
            12              Plaintiff’s public policy voidness arguments also fail. He alludes to general “sources of law”
            13       reflecting a “public policy favoring user control online, and filtering technologies in particular, as a
            14       means of achieving that control,” Opp. 22, but this hand waving cannot meet the heavy burden for
            15       voiding a contract on public policy grounds. As Meta showed, courts invalidate a contract term only
            16       where “the interest in its enforcement is clearly outweighed in the circumstances by a public policy
            17       against the enforcement of such terms.” Restatement (Second) of Contracts § 178 (1981) (emphasis
            18       added). Plaintiff cites not a single example where a court has invalidated a contractual prohibition akin
            19       to the prohibition on automated access to user data in Meta’s Terms.
            20              In fact, the published decision by another judge in this District in BrandTotal decisively rejected
            21       essentially identical public policy challenges based on generalized interests in consumer privacy and
            22       free speech to the same Terms. “[A] basic sense of what is in the public interest is not sufficient … to
            23       invalidate” Meta’s Terms, as any policy arguments must be tied to “particular constitutional and
            24       statutory policies.” 605 F. Supp. 3d at 1245. Plaintiff has not identified a sufficiently particular
            25       constitutional or statutory policy here. As in BrandTotal, he offers only “scattershot citations to the
            26       CCPA that failed to tie that law’s actual requirements to the conduct at issue in this case.” Id. at 1245.
            27       And his First Amendment arguments fail because the contractual terms at issue—which concern
            28       automated access to Meta’s servers—merely restrict the means by which a user can access information.
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 Crutcher LLP                                                          9
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                 1   He does not contend there is a First Amendment principle requiring all users to have automated access
                 2   to online servers, much less a value that is enforceable against private parties such as Meta. Plaintiff’s
                 3   arguments related to section 230 are also misguided—they rest entirely on the general policy recitations
                 4   in that statute, which also expresses strong policies favoring the free functioning of the Internet
                 5   “unfettered by Federal or State regulation.” 47 U.S.C. § 230(b)(2).
                 6          Plaintiff also misconstrues Meta’s countervailing public policy interests.           Courts have
                 7   recognized that Meta has “a pressing public interest” in “polic[ing] the integrity of its platforms.”
                 8   Stackla, Inc. v. Facebook Inc., 2019 WL 4738288, at *6 (N.D. Cal. Sept. 27, 2019). This Court should
                 9   not “handicap Facebook’s ability to decisively police” its services, id., just because Plaintiff asserts
            10       (without actually knowing) that the proposed tool could never “interfere with the normal operation of
            11       Facebook”—despite acknowledging that “[t]he process for unfollowing has changed over time and will
            12       likely to continue to change.” Am. Compl. ¶¶ 53, 76 (emphasis added). And Plaintiff’s contention that
            13       he is “merely ask[ing] the court to apply well-settled principles of state contract law” is belied by the
            14       fact that he does not cite a single case invalidating a company’s terms based on a “public policy
            15       favoring user control online.” Opp. 22, 24. As Meta explained, the most analogous case was
            16       BrandTotal, which rejected policy arguments like Plaintiff’s and upheld Meta’s Terms. There is no
            17       reason for this Court to break with BrandTotal, or to undertake a novel application of state contract
            18       law. Contrary to Plaintiff’s characterization, BrandTotal did not focus only on the “risks” posed by
            19       BrandTotal’s software or how “closely align[ed]” the software was with public policy goals. Opp. 24
            20       n.16. Rather, the court assessed BrandTotal’s asserted policy interests (which were largely identical to
            21       what Plaintiff asserts here) and held that they did not invalidate unrelated terms restricting use of
            22       automated means to access data on Facebook’s servers.
            23              Finally, the public policy interest in Meta’s free speech rights is far from “mystifying.” Opp. 23
            24       n.15. Rather, it is a straightforward application of the Supreme Court’s decision in Moody v.
            25       NetChoice, LLC, which recognized the First Amendment protections that online services have in
            26       deciding how content will be organized and displayed. 144 S. Ct. 2383, 2405 (2024). By contrast, the
            27       generalized nature of Plaintiff’s public policy interests is too vague to carry his heavy burden of
            28       showing that the Terms should be voided on public policy grounds.
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 Crutcher LLP                                                         10
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                 1          3.      Plaintiff Has Not Alleged An Entitlement To Section 230(c)(2)(B) Immunity
                 2          The Amended Complaint also does not, and cannot, plead that Plaintiff is entitled to a

                 3   declaration of immunity under section 230(c)(2)(B) of the Communications Decency Act.

                 4                  a.      Section 230(c)(2)(B) Does Not Immunize Plaintiff From Breaching Terms
                                            That Prohibit Using Automated Means To Access Or Collect Data
                 5
                            The Court should reject Plaintiff’s argument that section 230(c)(2)(B) would free him from his
                 6
                     voluntary contractual obligations under Meta’s Terms. Most fundamentally, section 230(c)(2)(B)
                 7
                     would not apply because the relevant Terms relate to prohibitions on using “automated means” to
                 8
                     “collect” or “access” data from Facebook. Dkt. 31-2 § 3.2.3. Any potential enforcement of these
                 9
                     Terms would not seek to hold Plaintiff “liable on account of” enabling or making available “the
            10
                     technical means to restrict access to material.” 47 U.S.C. § 230(c)(2). As Plaintiff acknowledges,
            11
                     “[s]ome breach-of-contract claims might not be based on actions taken to enable filtering,” and he
            12
                     agrees that “those claims could proceed.” Opp. 17. This concession is dispositive. The only restriction
            13
                     at issue here relates to “automated access,” which is not implicated by section 230(c)(2). More
            14
                     generally, as explained in Berenson v. Twitter, Inc., 2022 WL 1289049 (N.D. Cal. Apr. 29, 2022), and
            15
                     Enhanced Athlete Inc. v. Google LLC, 479 F. Supp. 3d 824 (N.D. Cal. 2020), holding someone to their
            16
                     contractual promises does not make them “liable on account of” the acts described in section 230(c)(2).6
            17
                            Plaintiff’s policy argument that Congress enacted section 230(c)(2) to ensure developers could
            18
                     make tools that “maximize user control over what information is received by individuals, families, and
            19
                     schools” is beside the point. Opp. 13; Dkt. 36-1 (“Amici Br.”) at 1. Meta is not arguing that Plaintiff’s
            20
                     purported tool would violate the Terms because it would supposedly give users control over their Feed.
            21
                     Meta’s Terms do not specifically prohibit all user empowerment tools as such, and neither Plaintiff nor
            22

            23       6
                       Although Plaintiff is correct to note that Prager University v. Google LLC, 85 Cal. App. 5th 1022
                     (2022), applied subsection 230(c)(1), Opp. 17, Prager’s reasoning—that “the CDA may permit a state
            24       law claim concerning … activity based on a specific contractual promise, section 230
                     notwithstanding”—applies equally here, as exemplified by Judge Alsup’s ruling in Berenson.
            25       Similarly, Barnes v. Yahoo!, Inc., 570 F.3d 1096 (9th Cir. 2009), reasoned that section 230(c)(1) does
                     not preclude liability for claims where “the duty the defendant allegedly violated springs from a
            26       contract—an enforceable promise—not from any non-contractual conduct … of the defendant.” Id. at
                     1107. Barnes’s recognition that contractual claims arise from “an enforceable promise,” rather than
            27       “any non-contractual conduct,” id., also holds for section 230(c)(2) because contractual claims do not
                     seek to hold a defendant “liable on account of … restrict[ing] access to or availability of material,” 47
            28       U.S.C. § 230(c)(2), but on account of breaking the defendant’s promise.
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                 1   amici consider other ways in which third-party tools might accomplish the same purpose without
                 2   violating contractual prohibitions on using automated means to access data.
                 3          To the extent Plaintiff and amici argue there is no per se exception from section 230(c)(2) for
                 4   all contractual claims, they misunderstand Meta’s point. See Opp. 17; Amici Br. 13. This Court need
                 5   not decide whether section 230(c)(2) ever immunizes a party from breaching a contract that prohibits
                 6   them from “restrict[ing] access to content,” because the relevant Terms here prohibit using automated
                 7   means to access content; they do not restrict access to content. Plaintiff’s reliance on Batzel v. Smith,
                 8   333 F.3d 1018 (9th Cir. 2003), is inapposite. Opp. 17; Amici Br. 14. There, the Ninth Circuit suggested
                 9   that section 230(c)(2) might “insulate[] service providers from claims premised on the taking down of
            10       a customer’s posting such as breach of contract”—referring to potential claims that the party requesting
            11       the takedown might face for removing (i.e., “restrict[ing] access to”) content that the service provider
            12       contractually agreed to display for a user. Id. at 1030 n.14. But Plaintiff’s request for declaratory relief
            13       here has nothing to do with immunity for causing Meta to take down users’ content.
            14                      b.      The Amended Complaint Does Not Establish That Plaintiff Is A
                                            “Provider” Of An “Interactive Computer Service”
            15
                            Plaintiff also fails to establish that he or his unfinished tool would qualify as a provider or user
            16
                     of an “interactive computer service,” meaning (1) an “access software provider” that (2) “provides or
            17
                     enables computer access by multiple users to a computer server.” 47 U.S.C. § 230(f)(2); Mem. 22–24.
            18
                            As to the first element, Plaintiff argues he would be an “access software provider” because his
            19
                     proposed tool would “enable[] its users to ‘filter, screen, allow, or disallow’ content—namely, the
            20
                     Facebook newsfeed and the posts that would otherwise appear in it.” Opp. 14 (quoting 47 U.S.C.
            21
                     § 230(f)(4)). Plaintiff does not allege or argue that his tool would “screen,” “allow,” or “disallow”
            22
                     content, leaving only his contention that it would “filter” content. But Plaintiff does not allege that
            23
                     Unfollow Everything 2.0 would actually “filter” the Feed. To the contrary, he claims it would work
            24
                     by “caus[ing] the user’s browser to send a request to Meta’s servers.” Am. Compl. ¶ 73. At most, this
            25
                     might help a user “unfollow” certain friends, pages, and groups (which might “empty out” the Feed,
            26
                     id. ¶ 71), but it would not filter out the Feed itself from being displayed. See Mem. 22.
            27
                            Plaintiff’s attempt to analogize his proposed tool to “spam filters” only proves Meta’s point.
            28
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                 1   Opp. 14. Unlike spam filters (which do not control who sends spam but instead filter spam after it is
                 2   sent), Unfollow Everything 2.0 allegedly would theoretically change the friends, pages, and groups that
                 3   a user follows, which would “empty out” the Feed from adjusting the inputs. Am. Compl. ¶ 71.
                 4   Plaintiff concedes, however, the Feed would still be visible. He also acknowledges that content from
                 5   friends, pages, and groups would still be available to users by “navigating to the profiles and pages
                 6   they want to see”—confirming that the proposed tool would not actually filter that content. Am.
                 7   Compl. ¶¶ 60–61. Unfollowing friends, pages, and groups so they are not included in the Feed is not
                 8   the same as filtering out content that is included in the Feed. Although amici observe that the “practical
                 9   effect” might be the same (i.e., to “empty out users’ newsfeeds”), Amici Br. 10, that is not enough
            10       because section 230(c)(2) focuses on the “action” of the provider or user claiming immunity—and not
            11       just the effect of those actions.7
            12               As to the second element, Plaintiff argues that his proposed tool would “enable[] computer
            13       access by multiple users to a computer server.” Opp. 15 (citing 47 U.S.C. § 230(f)(2)). But he does
            14       not cite any specific factual allegations identifying the putative “users” and “computer server” to meet
            15       this definition. Instead, he cites cases that analyze other technologies (such as the Zoom app and a
            16       malware scanning software) and therefore do not shed light on the proposed tool at issue here. Opp.
            17       15 (citing In re Zoom Video Commc’ns Inc. Priv. Litig., 525 F. Supp. 3d 1017, 1029 (N.D. Cal. 2021);
            18       Zango, Inc. v. Kaspersky Lab, Inc., 568 F.3d 1169, 1175 (9th Cir. 2009)).
            19               Were there any doubt about whether Plaintiff’s proposed extension would “filter” content or
            20       “provide or enable computer access by multiple users to a computer server,” that is because there are
            21       limits to what Plaintiff can allege about a tool that does not exist. And any such doubt certainly
            22       counsels against exercising discretionary jurisdiction to rule on questions of statutory immunity that
            23       hinge on unpled technical details.
            24

            25

            26       7
                       Plaintiff also argues that he “independently qualifies as an ‘access software provider’” because his
                     tool would apparently “‘transmit, receive, … forward, [and] cache’ content.” Opp. 15 n.10 (citing 47
            27       U.S.C. § 230(f)(4)(C)). But in that provision, “content” refers to the underlying content that is filtered
                     out, and there is no allegation that Plaintiff’s proposed tool would “transmit,” “receive,” “forward,” or
            28       “cache” a copy of the content that would otherwise have appeared in the Feed.
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                 1                  c.      The Amended Complaint Does Not Establish That Plaintiff’s Proposed
                                            Browser Extension Would Restrict “Access” To Objectionable Content
                 2
                            Similar problems plague Plaintiff’s argument that his proposed tool would restrict “access” to
                 3
                     objectionable content under section 230(c)(2)(B). He says that his proposed tool will restrict access by
                 4
                     “eliminat[ing] the newsfeed,” Opp. 16, but this argument is inconsistent with his allegations, which
                 5
                     state that users who engage the proposed tool could still access the Feed; the Feed would just be
                 6
                     “empty.” Am. Compl. ¶ 71. Plaintiff concedes that the content that would otherwise have been
                 7
                     displayed on a user’s Feed would still be displayed and accessible to that user on Facebook, meaning
                 8
                     the tool would not actually “restrict access” to content. See Mem. 23–24.
                 9
                            Plaintiff and amici argue in the alternative that a mechanism can “restrict access” to content by
            10
                     changing how users view content, even if it does not “eliminat[e]” the content altogether. Opp. 16;
            11
                     Amici Br. 11. But changing how easy it is to view content is, in essence, changing the “availability”
            12
                     of content—a concept that, as Meta has explained, is different under the statutory language. See Mem.
            13
                     23–24 (comparing 47 U.S.C. § 230(c)(2)(A) with § (c)(2)(B)).
            14
                            4.      The Court Should Dismiss Plaintiff’s Request For Declaratory Relief Regarding
            15                      The CFAA And CDAFA
            16              The Court should decline Plaintiff’s request for a declaratory ruling on the CFAA and CDAFA,

            17       as the jurisdictional defects are especially acute for those claims. See Mem. 24. Plaintiff argues that

            18       the lone mention of “unauthorized access” in the cease-and-desist letter Meta sent to a different creator

            19       about a different, actually released tool was an “obvious allusion to the statutes.” Opp. 24. But even

            20       apart from the fact that this letter does not create a ripe dispute, see supra, p. 5, its reference to

            21       “unauthorized access” could just as likely refer to uses of Facebook that violate the Terms, which were

            22       summarized directly before the paragraph Plaintiff cites from the letter. See Dkt. 29-2 at 1–2.8

            23              Plaintiff also has no convincing response to Meta’s argument that a declaratory ruling on the

            24       CFAA—which would be limited to just one subsection of the statute, section 1030(a)(2)(C)—would

            25       be too narrow to be useful. See Mem. 24. He asserts that section 1030(a)(2)(C) is the “only provision

            26       8
                       Neilmed Products, Inc. v. Med-Systems, Inc., 472 F. Supp. 2d 1178 (N.D. Cal. 2007), and FN Cellars,
                     2015 WL 5138173, which involved invocations of “the language of trademark infringement,” do not
            27       help Plaintiff. See Opp. 24. As noted above, a different standard applies to declaratory relief in
                     trademark cases. See supra, pp. 3–4. And in both cases, the defendants had issued formal legal filings
            28       with the USPTO that unambiguously proved their intent to bring trademark infringement claims.
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                 1   Meta could conceivably rely on,” Opp. 24–25, but his view is not dispositive—especially given that
                 2   Meta cannot know how it would respond unless and until there is something concrete for Meta to
                 3   evaluate. Plaintiff’s argument that “courts do not require a plaintiff to seek immunity from all potential
                 4   claims to obtain a declaratory judgment on the specific claim they have brought,” Opp. 25, is also
                 5   contrary to the Ninth Circuit’s instruction that courts should evaluate whether ruling on the declaratory
                 6   relief claims would “settle all aspects of the controversy,” Gov’t Emps. Ins. Co., 133 F.3d at 1225 n.5.
                 7          Finally, Plaintiff cannot seriously contend that his one sentence, conclusory allegation suffices
                 8   to state a CDAFA claim. Plaintiff argues that he “would not violate the CDAFA for the same reasons
                 9   he would not violate the CFAA,” but he concedes that the statutes have different subsections that cover
            10       different types of conduct. Opp. 25.9 Although Plaintiff now identifies provisions of the CDAFA for
            11       which he purports to seek a declaratory ruling—“(c)(1), (c)(2), (c)(4), and (c)(7),” Opp. 25—simply
            12       listing these provisions in his brief does not cure his pleading deficiency, meaning the absence of
            13       underlying factual allegations explaining the basis for the elements of each claim. It is Plaintiff’s
            14       burden to plead allegations that establish a “nexus between the multitude of facts and the particular
            15       causes of action asserted,” and the Amended Complaint must identify “which allegations support” the
            16       CDAFA claims. Sarmiento v. Marquez, 2022 WL 2918906, at *4 (N.D. Cal. July 25, 2022). He has
            17       not done that here, and his general references to the CDAFA in the Amended Complaint fail to meet
            18       the “notice pleading requirements of Rule 8(a)(2).” McGowan v. Weinstein, 505 F. Supp. 3d 1000,
            19       1020 n.13 (C.D. Cal. 2020). In short, neither Meta nor the Court should have to speculate about the
            20       contours of the hypothetical CDAFA claim that Plaintiff seeks to eliminate.
            21                                               III.    CONCLUSION
            22              The Court should dismiss because there is no justiciable dispute or basis to exercise
            23       discretionary jurisdiction based on a hypothetical browser extension that he has not yet invented, and
            24       because the allegations do not establish a claim for declaratory relief.
            25       9
                       Contrary to Plaintiff’s suggestion, see Opp. 25 n.17, BrandTotal and Multiven, Inc. v. Cisco Systems,
                     Inc., 725 F. Supp. 2d 887 (N.D. Cal. 2010), do not establish a blanket rule that the CFAA and CDAFA
            26       are coextensive. Rather, the extent of overlap depends on the specific legal provisions and factual
                     theories at issue. See BrandTotal, 605 F. Supp. 3d at 1260 (claims “coextensive for the purpose of the
            27       present motions”); Multiven, 725 F. Supp. 2d at 895 (“necessary elements” did not differ materially …
                     for purposes of this action”). The CDAFA allegation in the Amended Complaint is so thinly pled that
            28       neither Meta nor the Court can discern whether it overlaps with the CFAA claim in this case.
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 Crutcher LLP                                                         15
                         REPLY MEMORANDUM OF META PLATFORMS ISO MOTION TO DISMISS AMENDED COMPLAINT
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                 1   Dated: September 23, 2024                  GIBSON, DUNN & CRUTCHER LLP
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                 3                                                    Kristin A. Linsley
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